

People v Garcia (2021 NY Slip Op 06100)





People v Garcia


2021 NY Slip Op 06100


Decided on November 09, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 09, 2021

Before: Manzanet-Daniels, J.P., Oing, Moulton, Scarpulla, JJ. 


Ind. No. 3351/16 Appeal No. 14577 Case No. 2018-3699 

[*1]The People of the State of New York, Respondent,
vRene Garcia, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (DÉsirÉe Sheridan of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniel J. Young of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Albert Lorenzo, J.), rendered June 20, 2017, convicting defendant, upon his plea of guilty, of attempted criminal possession of a controlled substance in the fourth degree, and sentencing him to a five-year conditional discharge, unanimously modified, on the law, to the extent of reducing the sentence to a three-year conditional discharge, and otherwise affirmed.
As the People concede, a three-year conditional discharge was required pursuant to Penal Law § 65.05(3)(a).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 9, 2021








